375 F.2d 517
    67-1 USTC  P 9323
    W. Thomas DAVIS et al., Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.
    Nos. 20375, 20382.
    United States Court of Appeals Ninth Circuit.
    March 17, 1967.
    
      Arthur A. Armstrong, armstrong &amp; Brown, los Angeles, Cal., for appellants.
      Mitchell Rogovin, Asst. Atty. Gen., Lee A. Jackson, David O. Walter, Solomon L. Warhaftig, Attys., Tax.  Div., Dept. of Justice, Washington, D.C., for appellee.
      Before DUNIWAY and ELY, Circuit Judges, and POWELL, District Judge.
      PER CURIAM.
    
    
      1
      The decision of the Tax Court, T.C.Memo 1965-30, is unofficially reported at 24 T.C.M. 157.  The taxpayers attack only that part of the decision which relates to the year 1953 and to sale of a lemon crop that was on the trees at the time that they purchased the property involved.  The Tax Court determined that the cost of acquisition of the assets, other than certain 'quick assets' as to which the taxpayers' allocation is not questioned, was less than their fair market value.  It reallocated cost, between the lemon crop and other assets, based upon their respective percentages 3f total fair market value, and determined that a profit was realized on the sale of the lemon crop.  We are of the opinion that the Tax Court's findings in relation to this question are sustained by the evidence and that its disposition of the question is proper, for the reasons stated by it.
    
    
      2
      Affirmed.
    
    